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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     SHERYL HAYDEN
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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )                CR.-S-08-294-EJG
11                                 )
          PLAINTIFF,               )                STIPULATION AND PROPOSED
12                                 )                ORDER EXTENDING TIME TO
          v.                       )                FILE PRE-TRIAL RELEASE
13                                 )                DOCUMENTS
     SHERYL HAYDEN, et al.,        )
14                                 )
          DEFENDANT.               )
15   _______________________________)
16
           On June 27, 2008, the defendant, SHERYL HAYDEN, made her first
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     appearance in this Court. At that time the Court ordered her released pending trial on
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     condition that a secured bond in the amount of $150,000 be posted. (See Docket
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     Entry # 13) The defendant has been released with an unsecured bond in the amount of
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     $150,000 being posted with the Court. (See Docket Entry #13) The Court granted the
21
     defense request to file the secured bond on or before Friday, July 18, 2008. (See
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     Docket Entry #13) On July 21, 2008, the Court granted the defense request for an
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     extension of time to file the secured bond to on or before August 8, 2008. (See
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     Docket Entry # 35). On August 11, 2008, the Court granted the defense request for
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     an extension of time to file the secured bond to on or before August 22, 2008. (See
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     Docket Entry # 42).
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 1         The defense has provided the government with all of the required and
 2   requested documentation. The government is continuing the process of reviewing the
 3   documentation. The defense has contacted Mr. Steve Sheehan who is the Pre-trial
 4   officer for the defendant. Mr. Sheehan reports that the defendant is in total
 5   compliance with all of her pre-trial release conditions and there has been neither any
 6   incidents nor violations. Mr. Sheehan has been brought up to date as to the status of
 7   the case. Mr. Sheehan has no objection to the continuance and having the Court grant
 8   an extension of time to on or before September 26, 2008, for the defense to file the
 9   necessary documents for the $150,000 secured bond with the Court.
10         Therefore, it is agreed and stipulated between the parties by their respective
11   counsel, Mr. Russell L. Cralberg for the United States and Mr. James R. Greiner for
12   defendant Sheryl Hayden, that the defense may have to on or before Friday,
13   September 26, 2008, to file the documents necessary for the $150,000 secured
14   appearance bond in this case and that the defendant shall remain out of custody with
15   the unsecured $150,000 appearance bond
16         Respectfully submitted,
17                                    McGREGOR W. SCOTT
                                      UNITED STATES ATTORNEY
18
                                      /s/ RUSSELL L. CARLBERG by e mail authorization
19
     DATED: 9-19-08                   _____________________________________
20                                    RUSSELL L. CARLBERG
                                      Assistant United States Attorney
21                                    Attorney for the Plaintiff
22
                                      /s/ James R. Greiner
23   DATED: 9-19-08                   _____________________________________
                                      JAMES R. GREINER
24                                    Attorney for defendant SHERYL HAYDEN
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 1         FOR GOOD CAUSE SHOWN
 2         IT IS HEREBY ORDERED that defendant Sheryl Hayden shall have to on or
 3   before Friday, September 26, 2008, to file with the Court the necessary documents to
 4   secure the $150,000 appearance bond and that the defendant shall remain out of
 5   custody with the unsecured $150,000 appearance bond previously filed with the
 6   Court remaining in full force and effect until the filing of the documents necessary for
 7   the $150,000 secured appearance bond.
 8
 9         IT IS SO ORDERED.
10
11   DATED: 09/23/08                        /s/ Gregory G. Hollows
12                                          ________________________________________
                                            HONORABLE UNITED STATES FEDERAL
13                                          MAGISTRATE JUDGE
                                            GREGORY G. HOLLOWS
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     hayden.ord
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